                      Case 4:98-cr-00141-BAE Document 260 Filed 06/23/08 Page 1 of 1
  AO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                       UNITED STATES DISTRICT COURT
                                                                   for the
                                                                                                                   2Og JU7 23 PH 12: 2 I
                                                          Southern District of Georgia
                                                              Savannah Division
                    United States of America                          )
                               v.                                     )
                         Gregory Capers                               ) Case No: CR498-00141-006
                                                                      ) USM No: 10008-021
 Date of Previous Judgment: June 22, 1999                             ) David C. Walker
(Use Date of Last Amended Judgment if Applicable)                    ) Defendant's Attorney

                    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of        the defendant Lithe Director of the Bureau of Prisons Lithe court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,

IT IS ORDERED that the motion is:
       Li DENIED.       GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 219       months is reduced to         210 months
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:     35                                         Amended Offense Level:      33
Criminal History Category: III                                         Criminal History Category: III
Previous Guideline Range: 210                   to 262 months          Amended Guideline Range 168 to 210 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
X The reduced sentence is within the amended guideline range.
   The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
Li Other (explain):



III. ADDITIONAL COMMENTS

If this sentence is less than the amount of time the defendant has already served, the sentence is reduced to a "Time
Served" sentence.


Except as provided above, all provisions of the judgment dated June 22, 1999,                        shall remain in effect.
IT IS SO ORDERED.

Order Date:        June 23, 2008
                                                                                              Judge s signature

                                                                       B. Avant Edenfield
                                                                       United States District Judge
Effective Date:                                                        For the Southern District of Georgia
                    (if different from order date)                                        Printed name and title
